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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF MISSOURI


STATE OF MISSOURI,                                   )
                                                     )
                       Plaintiff,                    )
                                                     )
       vs.                                           )       Case No. 4:21-cr-00272
                                                     )
DAVID BARKLAGE,                                      )
                                                     )
                       Defendant.                    )


                 NOTICE OF INTENT TO WAIVE PRETRIAL MOTIONS

       COMES NOW Defendant, by and through Counsel, Dee Wampler, Joseph S. Passanise

and Taylon M. Sumners, of the WAMPLER & PASSANISE LAW OFFICE, having been fully

advised of his right to file pre-trial motions and to have an evidentiary hearing thereon hereby

states that there are no issues that he wishes to raise by way of pre-trial motions in this case.

Counsel has personally discussed this matter with the Defendant and the Defendant agrees and

concurs in the decision not to raise any issues by way of pre-trial motions.



                                                     RESPECTFULLY SUBMITTED,

                                                     _______/s/Joseph S. Passanise________
                                                     DEE WAMPLER, MO Bar #19046
                                                     JOSEPH S. PASSANISE, MO Bar #46119
                                                     TAYLON M. SUMNERS, MO Bar # 73114
                                                     Attorneys for Defendant




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                                     Certificate of Service
        I hereby certify that on June 22, 2021, I electronically filed the foregoing with the U.S.
District Court Clerk for the Eastern District of Missouri using the CM/ECF system which sent
notification of such filing to U.S. Attorney, St. Louis, Missouri.


                                                    _____/s/Joseph Passanise______________
                                                    Dee Wampler
                                                    Joseph S. Passanise
                                                    Taylon Sumners
                                                    Attorneys at Law




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